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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                 Plaintiff,                           No. 1:22-cr-00057-RCL


 v.                                             DEFENDANT’S SENTENCING
                                                     MEMORANDUM
 KENNETH RADER,
                 Defendant.


         Defendant Kenneth Rader faces sentencing for unlawfully parading,

demonstrating, or picketing in the Capitol, in violation of 40 U.S.C. § 5104(e)(2)(G).

Pursuant to the parties’ plea agreement (Doc. 20), the government will move to

dismiss the other three charges in the information. (Doc. 15.)

         By statute, Mr. Rader faces no more than six months’ imprisonment. The

guidelines do not apply.      The Court may also impose up to a five-year term of

probation. The maximum fine is $5000, and Mr. Rader has agreed to pay $500 in

restitution.

         As of this filing, Mr. Rader’s request to appear for sentencing by video (Doc.

29) remains pending. He respectfully asks the Court to grant this request in light of

the extreme cost for himself and appointed counsel to travel to Washington, D.C. from

Iowa, and to mitigate risks associated with COVID-19.

         Mr. Rader does not intend to offer exhibits or testimony at his sentencing

hearing. There are no outstanding objections to the Presentence Investigation Report

(PSR).


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      In fashioning an appropriate sentence after consideration of the 18 U.S.C.

§ 3553(a) factors, the Court should consider the following.

      Mr. Rader’s criminal offense itself is likely the least serious of any January 6th

offender. He entered the Capitol through the Senate Wing Door, “stood near [the]

entrance, walked near a broken window, retrieved pieces of broken glass and plaster

as souvenirs, . . . and then exited through the same door he used to enter.” (PSR

¶ 24.) He never left the vicinity of the door. He never harmed anyone. He never

encountered anyone from the Capitol Police. He left the Capitol after merely three

minutes. (Id.) Although January 6th was certainly a sad chapter in our nation’s

history, Mr. Rader played merely a bit part.

      Mr. Rader’s acceptance of responsibility is also mitigating. He entered a timely

guilty plea. He never intimated that he would take his case to trial. As he may

explain in allocution, he is remorseful.

      As with any case, there are aggravating factors. Mr. Rader’s social media posts

and messages were inflammatory and wrong (see id. ¶¶ 16-21, 25-26), but his bark

was clearly much, much bigger than his bite. Mr. Rader’s criminal history is long (see

id. ¶¶ 32-54), but most of it stems from a long and sad history of struggling with

addiction. (See id. ¶¶ 83-89.) He relapsed during the pendency of this case, which

prompted some issues on pretrial and presentencing release. (See id. ¶¶ 6, 90.)




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      Mr. Rader is committed to accepting his punishment, moving past this ugly

chapter in his life, and staying sober. He asks the Court to consider all of the relevant

factors in deciding on a sentence toward the lower end of the statutory range.

                                         Respectfully submitted,

                                         /s/ Brad Hansen
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                            CERTIFICATE OF SERVICE

      I hereby certify that on September 1, 2022, I electronically filed this document
with the Clerk of Court using the ECF system, which will provide notice to all
assigned attorneys.

                                         /s/ Theresa McClure




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